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                  IN THE UNITED STATES DISCRIT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN


COREY TUCKER,                             )
                                          )
             PLAINTIFF,                   )
                                          ) CASE NO. 2:23-cv-13134-SFC-APP
      VS.                                 )
                                          ) Hon. Sean F. Cox
UNITED WHOLESALE                          )
MORTGAGE, INC.
                                          )
                                          )
             DEFENDANT.
                                          )
                                          )
                                          )

 PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS
PLAINTIFF’S COMPLAINT AND COMPEL ARBITRATION, OR IN THE
   ALTERNATIVE, TO COMPEL ARBITRATION AND STAY THE
                       LITIGATION
      Defendant brings its motion under Fed. R. Civ. P. 12(b)(3) and the Federal

Arbitration Act (FAA), 9 U.S.C 1. et sq. in an attempt to dismiss the allegations

against it so that Plaintiff has to proceed in private rather than in Court, where her

constitutional right is protected. For the reasons stated in the attached brief,

Plaintiff denies Defendant is entitled to the relief it seeks and requests this
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Honorable Court deny Defendant’s Motion and allow Plaintiff’s claims to move

forward in open court.




Dated: January 31, 2024              Respectfully Submitted,

                                     /s/ Carla D. Aikens
                                     CARLA D. AIKENS, P.L.C.
                                     Carla D. Aikens (P69530)
                                     Rejanae M. Thurman (P85701)
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                          CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing instrument was served upon
all parties to the above cause to each of the attorneys of record herein at their
respective addresses as directed on the pleadings on January 31, 2024, by:

                                           /s/ Katarzyna Nowicki




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                            ISSUE PRESENTED
  I.   Whether the claims in Plaintiff’s complaint are subject to arbitration.

       Plaintiff says:        No.

       Defendants say:        Yes.




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                                  TABLE OF AUTHORITIES

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                                     FACTS


      Plaintiff is an African American man who was employed by the Defendant

beginning on or about December 20, 2021 with his last position at being Account

Executive. Shortly after his employment began, Plaintiff began to notice

differential treatment within the workplace. Specifically, Plaintiff was assaulted

both physically and verbally by his Caucasian coworkers while at the workplace.

Upon both information and belief, Plaintiff reported the conduct to his supervisors

and/or Defendant had reason to know about the conduct that Plaintiff was being

subjected to.

      Plaintiff’s white coworkers would hurly insensitive or otherwise racist

comments at the Plaintiff based upon his status as a Black man. These comments

occurred both in person and during virtual interactions with Plaintiff’s white

coworkers. When Plaintiff started to bring up complaints about the treatment he

received, he was discouraged or forbidden from reporting the conduct directly to

the Team Member Service department. Finally, after months of enduring this

behavior, Plaintiff was terminated without warning by one of Defendant’s

managers for using the lavatory. Plaintiff is aware of other similarly situated

employees who did the same action and were not terminated for their actions.

      Defendant then brought this instant motion to force the Plaintiff into

Arbitration based upon an alleged agreement. (ECF No. 6 PageID. 28-51). In

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support of its motion, Defendant attached a Declaration from Jeff Wohlgamuth

working in an unexplained position of “AVP.” (ECF 6-1 PageID. 52-74). With the

declaration, a copy of the alleged agreement was attached. Id. However, Plaintiff

does not recall ever signing, electronically or otherwise , the agreement Defendant

holds out as a valid agreement. (Exhibit A: Declaration of Corey Tucker). Further,

there is no evidence nor can the Plaintiff recall anyone explaining what was being

signed or what fundamental rights Mr. Tucker would be losing. (See Exhibit A).

Defendant now claims that Plaintiff signed an arbitration agreement and that this

Court should not hear her claims. Plaintiff prays that this motion be denied.

                                   ARGUMENT
   A. Standard of Review

      Dismissal is appropriate when a plaintiff fails to state a claim upon which

relief can be granted. Fed. R. Civ. P. 12(b)(6). Courts assume the factual

allegations in the complaint are true and construe the complaint in the light most

favorable to the plaintiff. See Bassett v. Natl Collegiate Athletic Ass'n, 528 F.3d

426,430 (6th Cir. 2008). The Supreme Court has articulated the following standard

regarding factual allegations that are required to survive dismissal:

             While a complaint attacked by a Rule 12(b)(6) motion to
             dismiss does not need detailed factual allegations, a plaintiff's
             obligation to provide the “grounds” of his “entitlement to
             relief” requires more than labels and conclusions, and a
             formulaic recitation of the elements of a cause of action will not
             do. Factual allegations must be enough to raise a right to relief

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               above the speculative level, on the assumption that all the
               allegations in the complaint are true (even if doubtful in fact).

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955, 167 L. Ed. 2d 929

(2007) (quotation marks, ellipsis, citations, and footnote omitted). A complaint

must contain sufficient factual matter to “state a claim to relief that is plausible on

its face.” Id. at 570. “A claim has facial plausibility when the pleaded factual

content allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 663, 129 S. Ct.

1937, 173 L. Ed. 2d 868 (2009) (citing Twombly, 550 U.S. at 556). Finally,

determining whether a complaint states a plausible claim for relief requires a

reviewing court to “draw on its judicial experience and common sense.” Iqbal, 556

U.S. at 679.

      In deciding whether to compel arbitration of a federal statutory claim, courts

first consider whether the statutory claim is generally subject to compulsory

arbitration. If the claim is not exempt from arbitration, courts must then consider

whether the arbitration agreement is valid and enforceable. Morrison v. Circuit

City Stores, Inc., 317 F. 3d 646, 665 (6th. Cir. 2003). Additionally, courts review

the enforceability of an arbitration agreement according to the applicable state law

of contract formation. Id. (citing First Options of Chicago, Inc. v. Kaplan, 514 U.S.

938, 943-44, 115 S.Ct. 1920, 131 L.Ed.2d 985 (1995)).



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   B. The Arbitration Agreement May Not Be Enforceable Under Michigan Law

       On June 23, 2023, the Michigan Supreme Court in Saidizand v. Gojet

Airlines, LLC specifically requested that the parties address “whether claims under

the Elliot-Larsen Civil Rights Act, MCL 37.2101 et seq, may be subjected to

mandatory arbitration as a condition of employment under Michigan Law.” Id.

Moreover, the Court noted the conflicting nature of Rembert v Ryan’s Family Steak

Houses, Inc, 235 Mich App 118 (1999) (holding that Civil Rights Claims are

subject to mandatory arbitration agreements contained in employment contracts),

and Heurtebise v Reliable Business Computers, 452 Mich 405 (1996) (stating that

Civil Rights claims should not subject to mandatory arbitration). Accordingly, it is

apparent that the Michigan Supreme Court is strongly considering striking

mandatory arbitration for all claims under the Elliot Larsen Civil Rights Act, and

this Court should, at the very least, hold its ruling in abeyance pending the decision

in that case.

       Additionally, the agreement does not meet the standards required by

Rembert v Ryan’s Family Steak Houses, Inc. The Michigan Court of Appeals held

that arbitration agreements in employment contracts entered into before any claim

for unlawful discrimination had accrued (“pre-dispute arbitration agreements”)

were void as against public policy. Rushton v Meijer, Inc, 225 Mich App 156

(1997). Two years later, the Court of Appeals overturned itself, holding that pre-


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dispute arbitration agreements covering claims of unlawful discrimination were not

automatically against public policy. Rembert v Ryan's Family Steak Houses, Inc.,

235 Mich. App. 118 (1999). However, the Rembert court outlined requirements

that pre-dispute arbitration agreements must adhere to in order to be enforceable

under Michigan law. The Rembert court summarized the requirements as follows:

(1) pre-dispute agreements to arbitrate statutory employment discrimination claims

are valid as long as the employee does not waive any rights or remedies under the

statute and the arbitral process is fair; (2) to ensure that employees have a fair

opportunity to vindicate effectively statutory rights, the arbitration procedures must

include: (a) clear notice, (b) right to counsel, (c) reasonable discovery, (d) a fair

hearing, and (e) a neutral arbitrator; (3) if arbitral awards are challenged, the

standard of judicial review will be the standard articulated in DAIIE v. Gavin, 416

Mich. 407, 433-34; 331 N.W.2d 418 (1982); and (4) to allow for sufficient review,

arbitral awards must be in writing and contain findings of fact and conclusions of

law. Rembert, 235 Mich. App. at 166. Here, the subject pre-dispute arbitration

agreement is not enforceable under Rembert because it required Plaintiff to waive

her constitutional right to a jury trial and to waive her rights and remedies under

the ELCRA. Therefore, it should not be enforced against Plaintiff.




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   C. There is Insufficient Evidence to Conclude Plaintiff Agreed to Arbitration

      Federal courts have recognized that “applicable state-law contract defenses

like fraud, forgery, duress, mistake, lack of consideration or mutual obligation, or

unconscionability, may invalidate arbitration agreements.” Cooper v. MRM

Investment Co., 367 F.3d 493, 498 (6th Cir. 2004).

      As held in Fazio v. Lehman Bros., 340 F.3d 386 (6th Cir. 2003), a court has

four tasks when determining the applicability of an arbitration agreement: first, it

must determine whether the parties agreed to arbitrate; second, it must determine

the scope of that agreement; third, if federal statutory claims are asserted, it must

consider whether Congress intended those claims to be nonarbitrable; and fourth, if

the court concludes that some, but not all, of the claims in the action are subject to

arbitration, it must determine whether to stay the remainder of the proceedings

pending arbitration.

      Defendant fails to point out that the FAA reflects the fundamental principle

that arbitration is a matter of contract. Section 2, the “primary substantive

provision of the Act,” provides:

          A written provision in . . . a contract evidencing a transaction
          involving commerce to settle by arbitration a controversy
          thereafter arising out of such contract . . . shall be valid,
          irrevocable, and enforceable, save upon such grounds as exist
          at law or in equity for the revocation of any contract.’




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Moses H. Cone Memorial Hospital v. Mercury Constr. Corp., 460 U. S. 1, 24

(1983) (citing 9 U.S.C. §2). Arbitration agreements under the FAA are therefore

“on an equal footing with other contracts.” Rent-A-Center, West, Inc. v. Jackson,

561 U.S. 63 (2010) (internal citation omitted). Similar to other contracts, “they

may be invalidated by ‘generally applicable contract defenses, such as fraud,

duress, or unconscionability.’” Id. (quoting Doctor’s Associates, Inc. v. Casarotto,

517 U. S. 681, 687 (1996)). Importantly, ordinary principles of state contract law

determine whether there is a valid agreement to arbitrate. First Options of Chicago,

514 U.S. at 544; Arthur Andersen LLP v. Carlisle, 556 U.S. 624, 630 (2009).

      The five basic elements of a contract under Michigan law are “(1) parties

competent to contract, (2) a proper subject matter, (3) legal consideration, (4)

mutuality of agreement, and (5) mutuality of obligation.” Bank of America, NA v

First American Title Ins. Co., 499 Mich. 74, 101 (2016) (quotation marks and

citation omitted).

      The two central issues before this Honorable Court are lack of consideration

and no mutuality of agreement, which requires a valid offer and acceptance. See

Restatement Contracts, 2d (1981), § 22.

      As the Sixth Circuit has stated:

        Before compelling an unwilling party to arbitrate, the court must
        engage in a limited review to determine whether the dispute is
        arbitrable; meaning that a valid agreement to arbitrate exists


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       between the parties and that the specific dispute falls within the
       substantive scope of that agreement.

Javitch v. First Union Sec., Inc., 315 F.3d 619, 624 (6th Cir. 2003).

      First, the purported agreement was provided to Plaintiff after he had already

started working for Defendant. As all law school students learn at the beginning of

law school in Contracts, consideration is a “bargained for exchange.” Thus, while

it is questionable whether hiring an at-will employee to whom there is no

obligation is adequate consideration for giving up a constitutional right, there is

absolutely no consideration where Plaintiff was already employed for many years

prior to the document being presented to her to sign. On this basis alone,

Defendant’s motion should be denied.

      Further, Plaintiff respectfully submits that upon a review of the limited facts

at hand, it is not apparent that a binding and enforceable agreement was entered

into sufficient for the Court to find that he knowingly gave up her constitutional

right to a trial by jury. Though Defendant claims Plaintiff signed an agreement by

way of the learning modules, it has failed to submit any evidence that the

information in the modules was ever explained or if Plaintiff was merely clicking

through slides quickly return back to work.

      Finally, there is no evidence that Plaintiff understood that signing it meant

that he would not be able to proceed in court on her civil rights claims. In fact,

Plaintiff has stated that he has no recollection of signing an arbitration agreement,
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and he does not recall any learning module speaking about an arbitration

agreement. (Exhibit A, Plaintiff’s Declaration) Thus, there is a genuine question of

material fact as to the validity of this purported agreement, and Defendant’s motion

for judgment as a matter of law should be denied.

   D. Requiring Plaintiff to Arbitrate Her Claims Are Against Michigan Public
      Policy

      As described above, the Michigan Supreme Court is currently reviewing

whether claims under the Elliot-Larsen Civil Rights Act, MCL 37.2101 et seq, may

be subjected to mandatory arbitration as a condition of employment under

Michigan Law.”

      In Rushton v Meijer, Inc, 225 Mich. App. 156 (1997), the Michigan Court of

Appeals held that arbitration agreements in employment contracts entered into

before any claim for unlawful discrimination had accrued were void as against

public policy. In doing so, the Court cited to Justice Cavanaugh’s opinion in

Heurtebise v Reliable Business Computers, 452 Mich. 405 (Mich. 1996), wherein

it was stated:

           In conclusion, with respect to equal opportunity in the pursuit
           of civil liberties, such as employment, I believe that the right
           to be free from unlawful discrimination is of highest priority
           and too important to jeopardize. I further believe that the
           constitutionally guaranteed direct access to a judicial forum is
           so interwoven with the enforcement of civil rights in Michigan
           that we cannot separate them without potentially harming
           substantive civil rights. Accordingly, I would hold that the

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          Michigan Constitution and our longstanding public policy
          preclude the enforcement of prospective arbitration
          agreements in employment contracts. Finally, I would assert
          that I am not backing away from the public policy favoring
          alternative means of dispute resolution. For aggrieved
          individuals seeking to pursue remedies for claims that have
          already accrued, arbitration may present a quicker and cheaper
          means of receiving relief, and I fully support the parties'
          voluntary intent in those cases. I would limit this opinion to
          the arbitration agreements in employment contracts entered
          into before any claim for unlawful discrimination has accrued.

Rushton, 225 Mich. App. at 169-170; (quoting Heurtebise, 452 Mich. at 437-38).

      In Rembert, a 4-3 majority of the Court of Appeals overturned Rushton. In

the dissenting opinion, Justice Cavanaugh provided sound reasoning for holding

that pre-dispute arbitration agreements contained in employment contracts are void

as against of public policy. Among other things, Justice Cavanaugh explained that

private arbitration outcomes heavily favor the employer:

          In addition, as the Equal Employment Opportunity
          Commission (EEOC) and others have argued, the use of
          mandatory arbitration in such circumstances may result in
          structural biases in favor of employers. For example, the
          employer is much more likely to be a "repeat player," while
          the employee is a "one-shot player." Thus, the employer will
          have the advantage of familiarity with the arbitration process.
          When a dispute arises, the employer will have information
          readily available about various arbitrators and their rulings in
          previous cases. Furthermore, the arbitrator is likely to feel
          subtle pressure to find in favor of employers, who represent
          the source of future business. Indeed, according to one report,
          seventy percent of the cases involving the mandatory
          arbitration of employee claims are decided in favor of the
          employer.


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          Moreover, arbitration is essentially a private process and
          therefore does not allow development of the law. The courts
          play an essential role in the enforcement of civil rights laws by
          establishing precedents that give guidance to other companies
          and employees and by allowing public scrutiny of corporate
          policies, thus giving companies a strong incentive to eliminate
          discriminatory practices. However, as the EEOC has observed,
          “The courts cannot fulfill their enforcement role if individuals
          do not have access to the judicial forum.”

Rembert, 225 Mich. App. at 175-76.

      As Justice Cavanaugh summarized:

          The public rights embodied in state and federal employment
          law — such as freedom from discrimination in the workplace
          and minimum wage and overtime standards — are an
          important part of the social and economic protections of the
          nation. Employees required to accept binding arbitration of
          such disputes would face what for many would be an
          inappropriate choice: give up your right to go to court, or give
          up your job. . .. Binding arbitration agreements should not be
          enforceable as a condition of employment.

Id. at 177. Accordingly, given the recognized importance of effectively enforcing

the civil rights of Michigan employees, pre-dispute arbitration clauses in

employment contracts should be void as against public policy. As explained above,

the Michigan Supreme Court is currently reviewing this issue in Saidizand.

                                  CONCLUSION
      For the reasons stated, Plaintiff requests that this Honorable Court deny

Defendant’s Motion, and allow Plaintiff’s claims to move forward. Alternatively,

if the Court finds as a matter of law that there is a binding agreement, Plaintiff asks


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that this matter be stayed pending the Michigan Supreme Court’s opinion in

Saidizand.

Dated: January 31, 2024              Respectfully Submitted,

                                   /s/ Carla D. Aikens
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                                   Carla D. Aikens (P69530)
                                   Rejanae M. Thurman (P85701)
                                   Attorneys for Plaintiff
                                   carla@aikenslawfirm.com
                                   rejanae@aikenslawfirm.com
                          CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing instrument was served upon
all parties to the above cause to each of the attorneys of record herein at their
respective addresses as directed on the pleadings on January 31, 2024, by:

                                     /s/Katarzyna Nowicki




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